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14
                                IN THE UNITED STATES DISTRICT COURT
15
                                   EASTERN DISTRICT OF CALIFORNIA
16

17   IN THE MATTER OF THE EXTRADITION                  CASE NO. 2:18-MJ-152 EFB
     OF OMAR ABDULSATTAR AMEEN TO
18   THE REPUBLIC OF IRAQ                              STIPULATION RE: FILING OF STATUS REPORT
                                                       NUNC PRO TUNC AND WITHOUT SEALING
19                                                     AND [PROPOSED] ORDER
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22          IT IS HEREBY STIPULATED that the United States’s Status Report, previously submitted to
23 the Court on January 22, 2019, be filed on the docket without sealing and nunc pro tunc to January 22,

24 2019.

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               Case 2:18-mj-00152-EFB Document 72 Filed 02/26/19 Page 2 of 2

 1
                                                   McGREGOR SCOTT
 2 Dated: February 22, 2019                        United States Attorney
 3
                                                   /s/ Audrey B. Hemesath
 4                                                 ________________________________
                                                   AUDREY B. HEMESATH
 5                                                 HEIKO P. COPPOLA
                                                   Assistant United States Attorneys
 6

 7
     DATED: February 22, 2019                      Respectfully submitted,
 8
                                                   HEATHER E. WILLIAMS
 9                                                 Federal Defender
10
                                                   /s/ Rachelle Barbour
11                                                 RACHELLE BARBOUR
                                                   Assistant Federal Defender
12                                                 Attorney for OMAR AMEEN

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14
                                                      ORDER
15
            IT IS SO ORDERED. The government is directed to forward a copy of their January 22, 2019
16
     status report to Jeremy Donati, Operations Supervisor, at jdonati@caed.uscourts.gov. The Clerk is
17
     directed to file that status report on the docket, without sealing, nunc pro tunc to January 22, 2019.
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20 Dated: February 26, 2019.                       __________________________________
                                                   HON. EDMUND F. BRENNAN
21                                                 United States Magistrate Judge
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